Case 2:05-cr-20374-SHM Document4 Filed 10/20/05 Pagelof2 PagelD7

FILED Gy AC B.C.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE OS OCT 20 PM 5: 31,
Western Division °

 
  
  
  

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UNITED STATES OF AMERICA CLERK, LS. PESTRICT COURT

WD OS OS CoEPHIS
-VS- Case No. 2:05¢r20374-01-Ma

CALVIN WILLIAMS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

. The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
. All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this sy% day of October,
2005,

Shanes iho!

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

CALVIN WILLIAMS

 
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20374 was distributed by fax, mail, or direct printing on
October 21, 2005 to the parties listed.

 

 

PDA

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Honorable Samuel Mays
US DISTRICT COURT
